                    Case 1:19-cv-02519-SAG Document 1-4 Filed 08/30/19 Page 1 of 2


AO 440 (Rev. 06/12) Sununons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                             for the
                                                      District of Maryland       G
                         Eric R. Goods                          )
                                                                )
                                                                )
                                                                )
                             Plain/ifJ(s)
                                                                )
                                                                )
                                  v.                                   Civil Action No.
                                                                )
       Baltimore City Department of Transportation              )
                                                                )
                                                                )
                                                                )
                           Defendant(s)                         )

                                                 SUMMONS IN A CIVIL ACTION

To:   (Defendant's name and address)




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
arc the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:




        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT


Date:              08/30/2019
                                                                                     Signature o/Clerk or Deputy Clerk
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AD 440 (Rev. 06112) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                       PROOF OF SERVICE
                       (This section should not beftled with the court unless required by Fed. R. Civ. P. 4 (I))

           This summons for (name o[individual and fit/e. if any)
was received by me on (da,e)


           o   I personally served the summons on the individual at (place)
                                                                                      on (date)                              ; or

           o   I left the summons at the individual's         residence or usual place of abode with (name)
                                                                      , a person of suitable age and discretion who resides there,
          ------------------
           on (date)                               , and mailed a copy to the individual's          last known address; or

           o   I served the summons on         (name of individual)                                                                   ,who is
            designated by law to accept service of process on behalf of (name of orgonization)
                                                                                      on   (date)                            ; or

           o   I returned the summons unexecuted            because                                                                        ; or

           o   Other (specify):




           My fees are $                           for travel and $                         for services, for a total of $          0.00


           I declare under penalty of PCljury that this information            is true.



 Date:
                                                                                                    Server's signature



                                                                                                Printed name and title




                                                                                                    Server's address


 Additional    information regarding attempted service, etc:
